      Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 1 of 23




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
RAFAEL BUENO, ET AL,

                                   Plaintiffs,
                                                             Case No.: 1:22-cv-02216-PAE-KHP
                          v.

ALLCITY MEDICAL, P.C, ET AL,

                                    Defendants.
--------------------------------------------------------------X




  DEFENDANT YAN FELDMAN AND ALLA B. BUZINOVER’S MEMORANDUM
    OF LAW IN SUPPORT OF MOTION TO DISMISS SECOND AMENDED
                          COMPLAINT




                                   THE ESSES LAW GROUP, LLC
                                    845 Third Avenue, 6th Floor
                                     New York, New York 10022
                                      Telephone: 212-673-3160
                                         Fax: 212-845-9981
                                         leo@esseslaw.com
 Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 2 of 23




                         TABLE OF CONTENTS

                                                         Page

I.     Introduction……………………………………………………….1

II.    Procedural Posture of the Case………………………………...2

III.   Statement of Relevant Facts…………………………………....3

       A. Overview……………………………………………………….3

       B. The Parties…………………………………………………….4

       C. Background Facts………………………………………….....6

       D. Causes of Action………………………………………………8

IV.    Legal Argument…………………………………………………..9

       A. Standard on Motion to Dismiss……………………………..9

       B. Defendants Are Not “Employers” Under
          the FLSA or NYLL…………………………………………..10

       C. The First Claim for Relief Should Be Dismissed….…….14

       D. The Second and Third Claims for
          Relief Should be Dismissed…………………………...…….15

       E. The Fourth and Fifth Claims of Relief
          Should be Dismissed ………………………….…………….17

V.     Conclusion………………………………………………..……….19
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 3 of 23




                               TABLE OF AUTHORITIES

Cases                                                    Page

Ashcroft v. Iqbal, 556 U.S. 662 (2009)………………………………….. 9

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)……………….…….. 9, 10

Boutros v. JTC Painting & Decorating Corp.,
2013 WL 3110943 (S.D.N.Y. June 19, 2013)……………………..…….19

Bravo v. Established Burger One, LLC,
2013 WL 5549495 (S.D.N.Y. Oct. 8, 2013)…………………..…………11

Cain v. Rambert,
2013 WL 6194294 (E.D.N.Y. Nov 26, 2013)…………………………….12

Carter v. Dutchess Community College,
735 F.2d 8 (2d Cir. 1984)………………………………...………………..11

Casci v. Nat’l Fin. Network,
2015 WL 94229 (E.D.N.Y. Jan. 7, 2015)………………………………..19


Cruz v. AAA Carting and Rubbish Removal, Inc.,
116 F.Supp.3d. 232 (S.D.N.Y. Jul. 16, 2015)…………………………...16, 17

Chui-Fan Kwan v. Sahara Dreams Co. II Inc.,
2018 WL 6655607 (S.D.N.Y. Dec. 12, 2018)…………………………….13, 14

Dejesus v. HF Mgmt. Servs., LLC,
726 F.3d 85, (2d Cir. 2013)……………………………………….………..15, 16, 17, 18, 19

Diaz v. Consortium for Worker Educ., Inc.,
2010 WL 3910280 (E.D.N.Y. Sept. 28, 2010)…………………..……….12

Duffy v. Int’l Union of Operating Eng’rs Local 14-14B,
795 F. Supp. 2d 246 (E.D.N.Y. 2011)…………………………………….13

First Nationwide Bank v. Gelt Funding Corp.,
27 F.3d 763 (2d Cir. 1994)………………………………………………….9
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 4 of 23




Hsieh Lang Yeh v. Han Dynasty, Inc.,
2019 WL 633355 (S.D.N.Y. Feb. 14, 2019)………………..…………….. 10

Hong v. JP White Plains, Inc.,
2021 WL 1226566 (S.D.N.Y. Mar. 31, 2021)………………………………10

Imbarrato v. Banta Management Services,
2020 WL 1330744 (S.D.N.Y. Mar. 20, 2020)…………………………….. 11

Irizarry v. Catsimitidis,
722 F.3d 99 (2d Cir. 2013)……………………………………………..…… 10, 11

Johnson v. Equinox Holdings, Inc.,
2014 WL 3058438 (S.D.N.Y. July 2, 2014)………………………………...17

Lundy v. Catholic Health Sys. of L.I., Inc.,
711 F.3d 106 (2d Cir. 2013)…………………………………………………. 15, 17, 19

Momin v. Quantierra Advisors, LLC,
2022 WL 2002282 (S.D.N.Y. June 3, 2022)………………………………..16

Nakahata v. N.Y.-Presbyterian Healthcare Sys., Inc.,
723 F.3d 192 (2d Cir. 2013)…………………………………………………. 15, 17, 19

Starr v. Sony BMG Music Entertainment,
592 F.3d 314 (2d Cir. 2010)…………………………………………………..10


Statutes:

29 USC § 201………………………………………………………………….. 15

29 U.S.C. §207………………………………………………………………… 15

29 U.S.C. § 213………………………………………………………………....15

NYLL § 190(4) ………………………………………………………………….15

NYLL § 191(a)(a)……………………………………………………………….14

12 NYCRR 142-2.2……………………………………………………………. 15
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 5 of 23




      Defendants Yan Feldman (“Feldman”) and Alla B. Buzinover (“Buzinover,”

together with Feldman, the “Defendants”)1, by and through their counsel, submits

this memorandum of law in support of their motion to dismiss the Second Amended

Complaint (“SAC”) of the plaintiffs (“Plaintiffs”).


                               I.     INTRODUCTION

      After two failed attempts to plead viable claims against the Defendants,

Plaintiffs submit the SAC as their final attempt (the Court on July 21, 2022 during

a conference call advised that this is Plaintiffs’ final chance at a complaint). To

overcome the deficits of their first two pleadings, Plaintiffs include the buzz words

to allege panoply of wage claims. Plaintiffs, though, still fail to meet the minimum

threshold to maintain claims against Defendants. Plaintiffs still do not, beyond a

conclusory and non-substantiated fashion, provide plausible allegation to sustain

claims against Buzinover and Feldman. At best, Plaintiffs have alleged a claim

against defendant Dr. Zarkadas, which makes sense since he was their employer.

      The two leaders of this lawsuit, as evidenced by the overwhelming focus on

them in all versions of the complaints, Rafael Bueno and David Rivera, while

trained physician assistants, are in reality professional litigators. They utilize the

court system in hopes of shifting focus of the overwhelming proof of their illegal

behavior. That is, these two plaintiffs are the subject of a two active lawsuits, and

one resolved, one of which was filed by defendant Allcity Medical, P.C. prior to




1 “defendants” with a lower case “d” refers to all defendants in this case.

“Defendants” with an upper case “D” refers to the movants on this motion.



                                      1
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 6 of 23




Plaintiffs’ filing of this lawsuit.2 Here, these two plaintiffs, joined by others who

likely know nothing about Bueno and Rivera’s grudge that is the real reason for this

lawsuit, are using this Court to extort the defendants. But, in reality, none of the

above matters. The SAC speaks for itself. Actually, it does not speak at all. As

demonstrated below, the SAC fails to meet even the simplest of requirements to

survive. It is fatally defective. It should be dismissed, with prejudice.

                  II.    PROCEDURAL POSTURE OF THIS CASE

      Plaintiffs commenced this action on March 17, 2022 by the filing of their

Complaint. (D.E. 1). This matter was assigned to the Honorable Judge Paul A.

Engelmayer. By Order dated March 21, 2022, this matter was referred to the

Honorable Katharine H. Parker, United State Magistrate Judge, for General

Pretrial. (D.E. 22). On April 8, 2022, Defendants’ counsel sent a letter to Plaintiffs’

counsel requesting dismissal of this action or Plaintiffs to file an amended

complaint based on the deficiencies of the original Complaint.3 On April 26, 2022,

Plaintiffs filed their Amended Complaint. (D.E. 31). On April 27, 2022, pursuant to

Magistrate Judge Parker’s Individual Practices in Civil Cases, Rule III(a),

Defendants sent a letter request to the Court for a pre-motion to dismiss conference.

(D.E. 33). On April 28, 2022, the Court granted Defendants’ request and set a



2 Allcity Medical P.C. v. Rafael Bueno, et al, NY Supreme, Index No.: 151083/2022,

which has been dismissed without prejudice and Allcity has alleged such causes of
action as counterclaims in this lawsuit; see also, City Prime MSO LLC v. Rafael
Bueno, et al, NY Supreme, Index No.: 657041/2019, Washington Heights Pediatrics
v. Rafael Bueno, et al, NY Supreme, Index No.: 603143/2009.
3 A copy of the April 8, 2022 letter is annexed as Exhibit 1 to the Declaration of Leo

L. Esses, Esq., dated August 10, 2022 (the “Esses Decl.”)



                                        2
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 7 of 23




briefing schedule for a motion to dismiss. (D.E. 35). On May 27, 2022, Defendants

filed their motion to dismiss the Amended Complaint. (D.E. 39-41). On July 21,

2022, during a conference with the Court, the Court granted Plaintiffs leave to file

the SAC and set a schedule for any motion practice related thereto, thereby

rendering moot Defendant’s first motion to dismiss. (D.E. 49). On July 29, 2022,

Plaintiffs filed the SAC (which was finally filed on August 4, 2022 due to filing

errors at D.E. 55).

                      III.   STATEMENT OF RELEVANT FACTS4

A.    Overview

      Plaintiffs bring this action for damages and equitable relief based upon

allegations that Defendants committed violations of Plaintiffs’ rights guaranteed

to them by: (i) the overtime provisions of the Fair Labor Standards Act (“FLSA”),

29 U.S.C. § 207(a); (ii) the overtime provisions of the New York Labor Law

(“NYLL”), NYLL § 160, N.Y. Comp. Codes R. & Regs. (“NYCRR”) title 12, § 146-1.4;

(iii) the NYLL’s requirement that employers pay their manual worker employees

not less frequently than on a weekly basis, NYLL § 191(1)(a); (iv) the NYLL’s

requirement that employers provide on each payday wage statements to their

employees containing specific categories of accurate information, NYLL § 195(3);

(v) the NYLL’s requirement that employers provide their employees with, upon

hiring, and in writing, specific categories of accurate information, NYLL § 195(1);



4 All citations to the SAC (D.E. 55) are referenced herein as “SAC. ¶ __.” A copy of

the SAC is annexed as Exhibit 2 to the Esses Decl. The alleged facts are accepted
as true for purposes of this motion to dismiss only.



                                      3
       Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 8 of 23




and (vi) any other claim(s) that can be inferred from the facts set forth herein. SAC

¶ 1.

        Plaintiffs worked for Defendants - - three different New York professional

corporations that operate as a single enterprise to run medical offices in New York

City and Long Island, from at least as far back as October 2018 to December 2021.

SAC ¶ 2. From October 2018 until the end of their employment in December 2021

(“the Relevant Period”), Defendants willfully failed to pay Plaintiffs the wages

lawfully due to them under the FLSA and the NYLL. Id. Specifically, during the

Relevant Period, Defendants required Plaintiff to work, and Plaintiff did in fact

work, an average of forty hours per week or on occasion in excess of forty hours per

week each week, yet Defendants consistently failed to pay Plaintiffs on a timely

basis. Id. Additionally, Defendants violated the NYLL by failing to provide

Plaintiffs with accurate wage statements on each payday. SAC ¶ 3.

B.      The Parties

        Plaintiffs Rafael Bueno (“Bueno”) and David Rivera (“Rivera”) are residents

of Orange County and had been employed by defendants on a full-time basis from

November 2019 to December of 2021. SAC ¶ 19. Plaintiff Yasmin Nunez was

hired by defendant Konstantinos Zarkadas (“Zarkadas”) in October 2018. SAC ¶

37. Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, and Vanesa

Williams were hired by Zarkadas in November 2019. SAC ¶ 40. Plaintiff Nancy

Santos was hired by Zarkadas in November 2020. SAC ¶ 41. Plaintiff Evelyn Jaco

was hired by Zarkadas in January 2021. SAC ¶ 42. Plaintiffs Vieri Molina,




                                        4
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 9 of 23




Destiny Dominguez, Amada Reynoso, Vanesa Williams, Nancy Santos, and Evelyn

Jaco’s roles as medical assistants and/or front desk clerks required them to spend

more than twenty-five percent of their time performing manual work, such as

drawing blood, taking blood pressure, filing medical records, and organizing

medical equipment and supplies. SAC ¶ 43.

      Defendant Allcity Medical, P.C. (“Allcity”) is a New York professional

corporation that operates medical offices. SAC ¶ 14. Defendant K. Zark Medical

P.C. (“Zark Medical”) is a New York professional corporation that operates medical

offices. SAC ¶ 15. Defendant Hispanic Medical Health P.C. (“Hispanic Medical”) is

a New York professional corporation that operates medical offices. SAC ¶ 16.

Defendant Konstantinos Zarkadas (“Zarkadas”) is the owner of Zark Medical and

Hispanic Medical and was the on-site manager, who managed and operated each of

their medical offices on a day-to-day basis on behalf of the defendants. SAC ¶¶ 9,

12 & 17. Zarkadas managed and oversaw the day-to-day operations of Hispanic

Medical and was ultimately responsible for all matters with respect to determining

employees’ rates, methods of pay, and hours worked. SAC ¶ 12. Zarkadas had the

power to hire and fire and approve all personnel decisions with respect to Hispanic

Medical’s employees. Id. Zarkadas was responsible for paying defendants’

employees their bi-weekly wages, including Plaintiffs.      Id.   Zarkadas was all

responsible for maintaining employment records for all of Hispanic Medical’s

employees, including Plaintiffs. Id. Zarkadas personally managed and oversaw the

day-to-day operations of Zark Medical and was ultimately responsible for all




                                      5
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 10 of 23




matters with respect to determining employees’ rates, methods of pay, and hours

worked. SAC ¶10. Furthermore, Zarkadas had the power to hire and fire and

approve all personnel decisions with respect to Zark Medical’s employees. Id.

Zarkadas was responsible for paying defendants’ employees their bi-weekly wages,

including Plaintiff. Id. Zarkadas was all responsible for maintaining employment

records for all of Zark Medical’s employees, including Plaintiffs. Id. Defendants

Buzinover and Feldman were off-site managers, who had the power to hire and

fire, determine the employees’ rates, methods of pay, and hours worked. SAC ¶ 18.

Buzinover, Zarkadas and Feldman were and are the owners of Allcity. SAC ¶ 8.

Buzinover, Zarkadas and Feldman personally managed and oversaw the day-to-

day operations of Allcity and were ultimately, together, responsible for all matters

with respect to determining employees’ rates, methods of pay, and hours worked.

Id. Buzinover, Zarkadas, and Feldman had the power to hire and fire and approve

all personnel decisions with respect to Allcity. Id.     Buzinover, Zarkadas and

Feldman were responsible for paying defendants’ employees their bi-weekly wages,

including Plaintiffs.   Id.   They also were all responsible for maintaining

employment records for all of Allcity employees, including Plaintiffs. Id.     Zark

Medical, Hispanic Medical and Allcity operated as an enterprise. SAC ¶ 13.

C.     Background Facts

       In October of 2019, Bueno signed a contract titled “Physician Assistant

Employment Agreement Between K. Zark Medical P.C./Hispanic Medical Health,

P.C. and AllCity Medical, P.C. and Rafael Bueno, P.A.” SAC ¶ 21. In October of




                                       6
      Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 11 of 23




2019, Rivera signed a contract titled “Physician Assistant Employment Agreement

Between K. Zark Medical P.C./Hispanic Medical Health, P.C. and AllCity Medical,

P.C. and David Rivera, P.A.” SAC ¶ 22. Zarkadas signed both agreements on

behalf of Zark Medical and Hispanic Medical. SAC ¶ 23. The signature line for

Allcity was not executed and no one held themselves out as an owner or

representative of Allcity. SAC ¶ 24.       From November 2019 until the end of their

employment in December 2021, defendants paid Bueno and Rivera late each pay

period, except for their final pay period for which they were not paid at all. SAC ¶

25.    Defendants failed to provide Bueno and Rivera with wage notices that

accurately listed, among other things, their rate of pay and the employers’ official

names and addresses. SAC ¶ 26. Defendants failed to provide Bueno and Rivera

with a wage statement that accurately listed, among other things, the employers’

names and addresses, their rates of pay, and gross wages. SAC ¶ 27. Throughout

their employment, Bueno and Rivera received paychecks listing their employer as

Zark Medical, Hispanic Medical or Allcity. SAC ¶28. Bueno and Rivera worked as

Physician Assistants for the benefit of defendants. SAC ¶ 29.

        Throughout their employment, Bueno and Rivera complained several times

to defendants about not being paid on time or not being paid at all. SAC ¶ 30. On

December 21, 2021, Bueno met with Zarkadas to advise him that he could no

longer work for defendants if he is not going to be paid. SAC ¶ 31. On this occasion

Bueno said that he would not be able to work under the supervision of Zarkadas

because he committed a crime of moral turpitude, which will most likely result in




                                       7
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 12 of 23




him no longer being a New York State Licensed Physician. SAC ¶32. On or about

January 13, 2022, Zarkadas threatened to sue Bueno and Rivera if they practiced

medicine for any other medical practice other than Zark Medical, Hispanic Medical

Health or Allcity. SAC ¶ 33. Feldman said to Bueno and Rivera that because he

built Allcity and kept it running, Bueno and Rivera had to accept pay cuts and

continue working for defendants or he would sue Bueno and Rivera for having

Zarkadas, removed from the Health Maintenance Organization (“HMO”) capitation

panels for inadequate medical notes. SAC ¶ 34. Feldman also told Bueno that he

could not use his remaining two weeks of vacation. SAC ¶36.

       From October 2018 until the end of her employment in December 2021,

defendants paid Plaintiff Yasmin Nunez late each pay period, except for her final

pay period for which she was not paid at all. SAC ¶ 39. From the time of their

hiring Plaintiffs Vieri Molina, Destiny Dominguez, Amada Reynoso, Vanesa

Williams, Nancy Santos, and Evelyn Jaco were paid late each pay period, except for

their final pay period for which they were not paid at all. SAC ¶ 44.   During the

final two weeks of their employment Plaintiffs Vieri Molina, Destiny Dominguez,

Amada Reynoso, Vanesa Williams, Nancy Santos, and Evelyn Jaco worked ten

hours of overtime each week during the final pay period at the request of

defendants but were never compensated. SAC ¶ 45.

D.     Causes of Action

       The First Claim for Relief is Failure to Pay All Wages on a Timely Basis in

Violation of the NYLL. The Second Claim for Relief is Unpaid Minimum Wages




                                       8
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 13 of 23




under the FLSA. The Third Claim for Relief is Unpaid Minimum Wages under the

NYLL and the NYCRR. The Fourth Claim for Relief is Unpaid Overtime under the

FLSA. The Fifth Claim for Relief is Unpaid Overtime under the NYLL and the

NYCRR. The Sixth Claim for Relief is Failure to Accurate Wage Statements in

Violation of the NYLL. The Seventh Claim for Relief is to Furnish Accurate Wage

Notices in Violation of the NYLL. The Eighth Claim for Relief is Failure to Pay

Wages on a Timely Manner in Violation of the FLSA. The Ninth Claim for Relief is

Failure to Pay Wages on a Timely Manner in Violation of the NYLL.

                         IV.    LEGAL ARGUMENT

A.     Standard on Motion to Dismiss

       It is well settled that, under Federal Rules of Civil Procedure (“Rule

“)12(b)(6), “to survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, ‘to state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). A claim has facial plausibility “when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. “Threadbare

recitals of elements of a cause of action” fail to state a plausible claim. Id. The

plausibility standard “asks for more than a sheer possibility that a defendant has

acted unlawfully.” Id. (citing Twombly, 550 U.S. at 556). The Court does not have to

accept as true “conclusions of law or unwarranted deductions of fact.” First

Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763, 771 (2d Cir. 1994). Rather,

the complaint must contain sufficient factual allegations to “raise a right to relief




                                          9
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 14 of 23




above the speculative level.” Twombly, 550 U.S. at 555. A complaint that contains

only “labels and conclusions” or “a formulaic recitation” of the required pleading

elements will not be sufficient to state a cause of action. Id. at 570. Significantly, if

the allegations in the complaint do not allow a reasonable inference stronger than

the “mere possibility of misconduct,” the complaint must be dismissed. Starr v. Sony

BMG Music Entertainment, 592 F.3d 314, 321 (2d Cir. 2010). Here, on their third

attempt, Plaintiffs still rely on bare recitation of the legal standard, unsupported by

concrete factual allegations – which is inadequate to survive this motion to dismiss.

Hong v. JP White Plains, Inc., 2021 WL 1226566, at *6 (S.D.N.Y. Mar. 31, 2021).

B.     Defendants Are Not “Employers” Under the FLSA or NYLL

       The Court should dismiss this action against the Defendants because they

are not employers within the FLSA or NYLL.

       The determination of “whether an employer-employee relationship exists for

purposes of the FLSA should be grounded in economic reality rather than technical

concepts.” Irizarry v. Catsimitidis, 722 F.3d 99, 104 (2d Cir. 2013). The defendant

must possess formal or functional control over the plaintiff’s employment. Hsieh

Lang Yeh v. Han Dynasty, Inc., 2019 WL 633355 at *7 (S.D.N.Y. Feb. 14, 2019). In

particular, in order to determine whether a defendant is an “employer” under the

FLSA, courts must examine four factors, which are “nonexclusive and overlapping”

to determine the “economic reality” of the relationship: (1) whether the alleged

employer had the power to and hire the employee; (2) whether the alleged employer

supervised and controlled employee work schedules or conditions of employment; (3)

whether the alleged employer determined the rate and method of payment; and (4)




                                       10
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 15 of 23




whether the alleged employer maintained employer records. Imbarrato v. Banta

Management Services, 2020 WL 1330744, at *4 (S.D.N.Y. Mar. 20, 2020) (citing

Carter v. Dutchess Community College, 735 F.2d 8, 12 (2d Cir. 1984)).5 For an

individual to be an employer, there also must be more than just evidence that the

individual is an owner or officer of a company, or otherwise makes corporate

decisions that have nothing to do with an employee’s function. Irizarry, 722 F.3d at

109. “Instead, to be an ‘employer,’ an individual defendant must possess control

over a company’s actual ‘operations’ in a manner that relates to a plaintiff’s

employment.” Id. See also Bravo v. Established Burger One, LLC, 2013 WL

5549495, at *7 (S.D.N.Y. Oct. 8, 2013)(“Courts in this circuit have held that mere

boilerplate allegations that an individual meets the various prongs of the ‘economic

reality test’ are insufficient to survive a motion to dismiss”). Here, Plaintiffs fail, for

the third time, to meet their burden.

       The SAC alleges that Zarkadas was the owner of Zark Medical and Hispanic

Medical. SAC ¶¶ 10 & 12. The SAC alleges that Zarkadas was the onsite manager

of both Zark Medical and Hispanic Medical and “personally managed and oversaw

the day to day operations of [each such defendant] and was ultimately responsible

for all matters with respect to determining employees’ rates, methods of pay, and

hours worked.” Id. (emphasis added). “Furthermore, [Zarkadas] had the power to

hire and fire and “[Zarkadas] was responsible for paying Defendants’ employees



5 The NYLL definition of employer is “nearly identical” to that of the FLSA and the

analysis of factors for the employment relationship under both statutes is the same.
Imbarrato, 2020 WL 1330744, at *4.



                                        11
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 16 of 23




their bi-weekly wages, including Plaintiffs.” Id. “[Zarkadas] also [was] responsible

for maintaining employment records for all [of such defendant’s] employees,

including Plaintiffs.” Id. Zarkadas had the power to “approve all personnel

decisions with respect to [such defendant’s] employees.” Id. It was only Zarkadas

that hired any of the other Plaintiffs. SAC ¶¶37, 40-42. Plaintiffs allege, in

contradiction to these just recited allegations, that Buzinover and Feldman were

“off-site managers, who had the power to hire and fire, determine employees’ rates,

methods of pay, and hours worked.” SAC ¶ 18.6 These allegations are simply a

mere recitation of the factors to allege an employer, conclusory and insufficient.7

Diaz v. Consortium for Worker Educ., Inc., 2010 WL 3910280, at *4 (E.D.N.Y. Sept.

28, 2010)(granting motion to dismiss, noting that the “allegations that touch upon

the factors of the economic reality test … are conclusory and insufficient to survive

a motion to dismiss”); Cain v. Rambert, 2013 WL 6194294, at *1 (E.D.N.Y. Nov 26,

2013)(“[a] pleading that offers ‘labels and conclusions,’ or ‘a formulaic recitation of

the elements of a cause of action will not do.’” Plaintiffs’ allegations directly

contradict their other allegations that, for example, “no one held themselves out as

owner or representative of Allcity.” SAC ¶ 24.8 It was with Zarkadas who



6 The allegations in SAC ¶ 18 fall far short of the allegations against Zarkadas in

SAC ¶¶ 10 and 12. There is only one obvious and rationale conclusion that a
prudent person can find for this, it is not true.
7 SAC ¶ 18 alleges that Buzinover and Feldman had such powers, but does not

allege they had such powers over the Plaintiffs or on behalf of which corporate
defendant they had such powers. Compare that with SAC ¶¶10 and 12 that
specifically state that Zarkadas had such powers over Plaintiffs.
8 Also, in SAC ¶ 8, Plaintiffs allege that Zarkadas, Buzinover and Feldman “were

ultimately, together, responsible for all matters with respect to determining




                                        12
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 17 of 23




Plaintiffs can specify allegations that they entered into an employer/employee

relationship, it was Zarkadas who hired them all, it was Zarkadas who had ultimate

responsibility as the employer. Chui-Fan Kwan v. Sahara Dreams Co. II Inc., 2018

WL 6655607, at *2 & 4 (S.D.N.Y. Dec. 12, 2018)(dismissing amended complaint

where plaintiff failed to “plead any non-conclusory factual allegations”).

      What’s more, the allegations in the SAC directly contradict the allegations in

the first amended complaint (“FAC”). In the FAC, the Plaintiffs alleged that they

worked “under the supervision of Zarkadas.” FAC ¶ 39. Plaintiffs alleged that

Zarkadas, through the defendant companies, “held total control over Plaintiffs

Rafael Bueno and David Rivera’s schedules, including days and times worked, work

location, and vacation time.” FAC ¶ 38. Plaintiffs also alleged that they worked for

and were controlled by Zarkadas until December 21, 2021 (FAC¶¶ 35-42 & 50) and

never allege in the FAC, or in the SAC, when either Buzinover or Feldman became

their “employer” or when any Plaintiff worked for them. Duffy v. Int’l Union of

Operating Eng’rs Local 14-14B, 795 F. Supp. 2d 246, 253 (E.D.N.Y. 2011)( where

the pleadings only permit a court to infer the “mere possibility of misconduct, the

complaint has alleged - - but it has not ‘show[n]’ - - ‘that the pleader is entitled to

relief’”). Plaintiffs’ claims on their third try directly contradict what the Plaintiffs

previously told the Court, and so the claims against Buzinover and Feldman simply

do not pass the plausibility standard



employees’ rates, methods of pay, and hours worked.” But, in SAC ¶¶ 10 and 12,
Plaintiffs allege that it was Zarkadas “was ultimately responsible for all matters
with respect to determining employees’ rates, methods of pay, and hours worked.”



                                       13
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 18 of 23




       Similarly, to the extent that Plaintiffs try to join all defendants together by

using the buzz words that the defendant corporations operated “as a single

enterprise” (SAC ¶ 2), Plaintiffs provide only conclusory allegation to support this

claim. There is no plausible basis for the Court to find - even at this early stage -

that Defendants acted as an enterprise where the SAC solely relies on conclusory,

boilerplate allegations without actual factual. Id. Chui-Fan Kwan, 2018 WL

6655607, at *3-4.

C.     The First Claim for Relief Should be Dismissed9

       If the Court is not inclined to dismiss this entire lawsuit against Feldman

and Buzinover based on the failure of Plaintiffs to adequately allege that they are

employers, then the Court should still dismiss this action against the Defendants

for the following reasons.

       The First Claim for Relief alleges, on behalf of all Plaintiffs, breach of NYLL

§ 191(1)(a). SAC ¶¶46-50. NYLL § 191(1)(a) states:

             Every employer shall pay wages in accordance with the
             following provisions:

             a. Manual worker.--- (i) A manual worker shall be paid
             weekly and not later than seven calendar days after the
             end of the week in which the wages are earned; provided
             however that a manual worker employed by an employer
             authorized    by   the    commissioner   pursuant    to
             subparagraph (ii) of this paragraph or by a non-
             profitmaking organization shall be paid in accordance
             with the agreed terms of employment, but not less
             frequently than semi-monthly.



9 To the extent that the Court finds any claim for relief is insufficient, it too should

be dismissed as to Allcity.



                                       14
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 19 of 23




Pursuant to NYLL § 190(4), a “Manual Worker” means a mechanic, workingman or

laborer. None of the Plaintiffs are alleged to be a mechanic, workingman or laborer.

According to the allegations in the SAC, Bueno and Rivera are physician assistants

and the remainder of the Plaintiffs are medical assistants and/or front desk clerks.

SAC ¶¶ 21-22, 43. Even with a third bite at the apple, Plaintiffs have not been able

to properly classify themselves under the proper NYLL to make an allegation of any

violation.

D.     The Second and Third Claims for Relief Should be Dismissed

       The FLSA and NYLL overtime claims are subject to the standards for

pleading overtime claims in the Second Circuit. Lundy v. Catholic Health Sys. of

L.I., Inc., 711 F.3d 106, 118 (2d Cir. 2013); Nakahata v. N.Y.-Presbyterian

Healthcare Sys., Inc., 723 F.3d 192, 200 (2d Cir. 2013); Dejesus v. HF Mgmt. Servs.,

LLC, 726 F.3d 85, 89 & n.5 (2d Cir. 2013). The FLSA provides that “no employer

shall employ any of his employees ... for a workweek longer than forty hours unless

such employee receives compensation for his employment in excess of the hours

above specified at a rate not less than one and one-half times the regular rate at

which he is employed.” 29 U.S.C. §207(a)(1). This requirement is incorporated into

the NYLL via New York Department of Labor regulation 12 NYCRR 142-2.2 (“An

employer shall pay an employee for overtime at a wage rate of one and one-half

times the employee's regular rate in the manner and methods provided in and

subject to the exemptions of sections 7 and 13 [29 U.S.C. §§207, 213] of 29 USC 201

et seq., the Fair Labor Standards Act”).




                                      15
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 20 of 23




      With regard to all Plaintiffs, they provide this Court with no basis to believe

that they have not earned minimum wage. DeJesus, 726 F.3d at 88-89 (upholding

dismissal of FLSA claims where “complaint was devoid of any numbers to consider

beyond those plucked from the statute”). Here, the only thing that Plaintiffs allege

is that they did not get paid overtime. They do not say what their rate of pay is or

provide any evidence that they are entitled to overtime. There is no basis for the

Court to even assume that Plaintiffs have a viable claim.

      Furthermore, with regard to River and Bueno, high paid employees cannot

use the FLSA to pursue breach of contract claims. Momin v. Quantierra Advisors,

LLC, 2022 WL 2002282, at *2 (S.D.N.Y. June 3, 2022). Bueno and Rivera were

highly paid. Pursuant to the agreements they allege they signed (SAC ¶¶ 21-22),

Bueno earned $300,000 per year and Rivera $96,000 per year.10 Momin, 2022 WL

2002282, at *2 (finding that a salary of $80,000 “demonstrates that the plaintiff is

not in the class of vulnerable workers that the FLSA minimum wage provisions

were designed to protect”). According to the SAC, Bueno and Rivera were paid for

each of their pay periods, except for the last one. SAC ¶ 25. Given that each were

paid bi-weekly, Bueno was paid $288,461 for 2021 and Rivera was paid $92,307.

Stated another way, Rivera was paid $1,775.13 per week and Bueno was paid

$5,547.33 per week. Even assuming each of them worked 20 hours a day for 7 days

a week, which obviously they did not, Rivera would have earned $12.68 per hour

and Bueno $39.62 per hour. Cruz v. AAA Carting and Rubbish Removal, Inc., 116


10 The schedule in each of Bueno and Rivera’s contracts referenced in the SAC at

¶¶21-22 with each of their salaries is annexed as Exhibits 3 and 4 to the Esses Decl.



                                      16
     Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 21 of 23




F.Supp.3d. 232, 242-243 (S.D.N.Y. Jul. 16, 2015)(finding that employee had no basis

to claim it did not receive minimum wage). Under any calculation, neither of these

two plaintiffs can demonstrate that they did not get paid minimum wage. Johnson

v. Equinox Holdings, Inc., 2014 WL 3058438, at *3 (S.D.N.Y. July 2, 2014)( “An

employee cannot state a claim for a minimum wage violation ‘unless his average

hourly wage falls below the federal minimum wage’”). All FLSA and NYLL claims

by these two should be dismissed.

E.     The Fourth and Fifth Claims for Relief Should be Dismissed

       Because the FLSA and NYLL measure compliance with overtime

requirements by the workweek, “to survive a motion to dismiss, [p]laintiffs must

allege sufficient factual matter to state a plausible claim that they worked

compensable overtime in a workweek longer than 40 hours”; “a plaintiff must

sufficiently allege 40 hours of work in a given workweek as well as some

uncompensated time in excess of the 40 hours.” Lundy, 711 F.3d at 114; Nakahata,

723 F.3d at 200; Dejesus, 726 F.3d at 88.

       In the FAC, Plaintiffs did not specify even one workweek in which any

Plaintiff worked more than 40 hours, or allege that they were improperly

compensated for hours worked over 40 hours in that week. They too failed to specify

a week when they got paid late or incorrect wages. See, e.g., Lundy, 711 F.3d at 114

(“Reviewing Plaintiff’s allegations, as the district court thoroughly did, we find no

plausible claim that FLSA [or NYLL] was violated, because Plaintiffs have not

alleged a single workweek in which they worked at least 40 hours and also worked

uncompensated time in excess of 40 hours”); Nakahata, 723 F.3d at 201 (“[A]bsent



                                        17
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 22 of 23




any allegation that Plaintiffs were scheduled to work forty hours in a given week,”

they “do not state a plausible claim for such relief. To plead a plausible FLSA [or

NYLL] overtime claim, Plaintiffs must provide sufficient detail about the length and

frequency of their unpaid work to support a reasonable inference that they worked

more than forty hours in a given week. For these reasons, the District Court

properly dismissed the FLSA and NYLL overtime claims”); Dejesus, 726 F.3d at 89,

90 (affirming dismissal of overtime claims where plaintiff “did not estimate her

hours in any or all weeks or provide any other factual content or context. Indeed,

her complaint was devoid of any numbers to consider beyond those plucked from the

statute”).

      So, to overcome the deficiency in the FAC, Plaintiffs had to at least allege

that they worked forty hours a week and then reasonably infer they worked more

than forty hours in a given week. Plaintiffs did not so allege. Plaintiffs fail to

allege that they worked forty hours a week. At best one plaintiff alleges that it

worked forty hours a week. SAC ¶ 2 (“Plaintiff did in fact work, an average of forty

hours per week”). Of course, the SAC fails to identify such plaintiff. What’s more,

Plaintiffs again simply make conclusory non-specific allegations of how much

overtime they worked, i.e., “ten hours of overtime each work during the final pay

period.” It is not plausible that six workers each worked exactly ten hours of

overtime per pay period without any differentiation. Further, an overtime

complaint cannot survive a motion to dismiss with allegations of

what the plaintiffs’ schedule “typically,” “approximately,” “occasionally,” or




                                      18
    Case 1:22-cv-02216-JGLC-KHP Document 58 Filed 08/10/22 Page 23 of 23




“sometimes” was, or of how many hours plaintiffs “regularly worked.” See, e.g.,

Lundy, 711 F.3d at 114-115; DeJesus, 726 F.3d at 89; Nakahata, 723 F.3d at 199;

Casci v. Nat’l Fin. Network, 2015 WL 94229, at *3 (E.D.N.Y. Jan. 7, 2015)

(plaintiff’s allegations that he “occasionally [] worked in excess of forty (40) hours

per week, without receiving overtime compensation” were insufficient to “nudge his

claim from conceivable to plausible”); Boutros v. JTC Painting & Decorating

Corp., 989 F. Supp. 2d 281, 283 (S.D.N.Y. 2013) (plaintiffs “must allege not merely

that they typically worked unpaid overtime, but must specify at least one week in

which they worked overtime hours but were not paid overtime”) (emphasis in

original). At SAC ¶ 2, Plaintiffs allege that “on occasion [worked] in excess of forty

hours per week each week.” This is not sufficient and the Court should recognize

this as an obvious attempt to withstand a dismissal by making the bare conclusory

allegations.

                                 V.        CONCLUSION

      Based on the foregoing, Defendants respectfully submits that the Court

should dismiss this lawsuit with prejudice and grant Defendants all such other and

further relief as the Court deems just and proper.

Dated:         August 5, 2022

                                                THE ESSES LAW GROUP, LLC

                                                By: Leo L. Esses
                                                Leo L. Esses
                                                845 Third Avenue, 6th Floor
                                                New York, New York 10022
                                                (212) 673-3160




                                      19
